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                                                       U.S. Department of Justice
                                                       Environment and Natural Resources Division
                                                       Environmental Enforcement Section

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                                                         May 22, 2025

Hon. Karen M. Williams
United States District Court
Nicole Ramos Mitchell H. Cohen U.S. Courthouse
4th and Cooper Streets
Camden, New Jersey 08101
Courtroom: 4A
                     Re: United States v. EMR et al. (Shamrock Enterprises Site)
                                  #1:24−CV−09545−KMW−MJS

Dear Judge Williams:

         I am writing on behalf of the United States to request a status conference to address any
questions the Court may have regarding the pending settlement in this case.

         On September 30, 2024, the United States filed a Complaint in this matter and
simultaneously lodged a proposed Consent Decree to resolve the asserted claims. On November 27,
2024, the United States moved to enter the proposed Consent Decree, believing there not to have been any
public comments. Subsequently, the United States learned that a public comment had been submitted on
the Consent Decree but not properly routed to counsel until after the Motion to Enter had been filed. The
United States then submitted a letter dated December 31, 2024, advising the Court of the comment,
providing a response to that comment, and continuing to support the settlement. On March 14, 2025, the
United States filed a Status Report, noting that the Motion to Enter the Consent Decree had not yet been
decided and continuing to support the settlement.

          The undersigned counsel for the United States in this matter will be retiring at the end of June
2025, and we would like to have this matter resolved prior to that time, if possible. In addition, the
settlement amount due from the Defendants under the settlement has not been accruing interest during the
pendency of the Motion to Enter the Consent Decree, which results in an economic loss to the Superfund
used to fund this clean-up and many others across the United States.

         In light of the foregoing, the United States respectfully requests that the Court schedule a status
conference at its earliest convenience so that we may address any questions the Court may have regarding
the pending settlement.

                                               Respectfully submitted,

                                               s/ Deborah M. Reyher
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